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                             Exhibit 10
(60) Lisa Taback | LinkedIn                                             https://www.linkedin.com/in/lisa-taback-4b4a687/
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(60) Lisa Taback | LinkedIn                                             https://www.linkedin.com/in/lisa-taback-4b4a687/
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(60) Lisa Taback | LinkedIn                                             https://www.linkedin.com/in/lisa-taback-4b4a687/
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                                                 ID #:1514




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(60) Lisa Taback | LinkedIn                                             https://www.linkedin.com/in/lisa-taback-4b4a687/
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(60) Lisa Taback | LinkedIn                                             https://www.linkedin.com/in/lisa-taback-4b4a687/
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